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  7                        UNITED STATES DISTRICT COURT
  8                      CENTRAL DISTRICT OF CALIFORNIA
  9
 10   The Appeal, Inc., et al.,            )Case No.: ED CV 22-2111-JFW(AFMx)
                                           )
 11                    Plaintiff,          )
                                           )SCHEDULING AND CASE MANAGEMENT
 12        v.                              )ORDER
                                           )
 13   United States Department of          )
      Justices Office of Justice           )
 14   Programs,                            )
                                           )
 15                 Defendants.            )
      _____________________________
 16
           The purpose of this Order is to notify the parties and
 17
      their counsel of the deadlines and the schedule that will
 18
      govern this action.       SEE THE LAST PAGE OF THIS ORDER FOR THE
 19
      SPECIFIED DATES.      Ordinarily, the dates set forth on the last
 20
      page are determined after reviewing the parties’ Joint Report
 21
      or consultation with the parties at the Scheduling
 22
      Conference.     Accordingly, the dates and requirements are
 23
      firm.     The Court is very unlikely to grant continuances, even
 24
      if stipulated to by the parties, unless the parties establish
 25
      good cause through a concrete showing.            Because this Order in
 26
      some respects modifies the applicable Local Rules, counsel
 27
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  1   are advised to read it carefully to avoid default on the
  2   obligations established herein.           Counsel are advised to pay
  3   particular attention to the requirements of the Court with
  4   respect to electronic filing, the filing of motions for
  5   summary judgment, and the documents to be submitted at the
  6   Pre-Trial Conference and Trial.
  7   1.   ELECTRONIC FILING AND COURTESY COPIES
  8        All documents that are required to be filed in an
  9   electronic format pursuant to the Local Rules shall be filed
 10   electronically no later than 4:00 p.m. on the date due unless
 11   otherwise ordered by the Court.           Any documents filed
 12   electronically after 4:00 p.m. on the date due will be
 13   considered late and may be stricken by the Court.
 14        All documents filed electronically shall be filed in
 15   accordance with the Local Rule 5-4.           Each PDF file shall
 16   contain no more than one document or exhibit, see Local Rule
 17   5-4.3.1, and each document or exhibit shall be meaningfully
 18   described on the docket such that the document or exhibit can
 19   be easily identified.       For example, if a declaration in
 20   support of a motion appears as Docket No. 30, exhibit 1 to
 21   the declaration should be filed as Docket No. 30-1 with a
 22   description of the exhibit that includes the title of the
 23   exhibit and the exhibit number (e.g., Exhibit 1: Letter from
 24   John Doe to Jane Doe dated January 1, 2021).             Exhibit 2 to
 25   the declaration should be filed as Docket No. 30-2 with a
 26   description of the exhibit which includes the title of the
 27   exhibit and exhibit number (Exhibit 2: Letter from Jane Doe
 28   to John Doe dated January 2, 2021), and so on. Any documents



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  1   which counsel attempt to file electronically which are
  2   improperly filed will not be accepted by the Court.
  3        Counsel are ORDERED to deliver 2 copies of all documents
  4   filed electronically to Chambers.           For each document filed
  5   electronically, one copy shall be marked “CHAMBERS COPY” and
  6   the other copy shall be marked “COURTESY COPY.”              The
  7   “CHAMBERS COPY” and “COURTESY COPY” are collectively referred
  8   to herein as “Courtesy Copies.”           The Courtesy Copies of each
  9   electronically filed document must include on each page the
 10   running header created by the ECF system.            In addition, on
 11   the first page of each Courtesy Copy, in the space between
 12   lines 1 - 7 to the right of the center, counsel shall include
 13   the date the document was e-filed and the document number.
 14   The Courtesy Copies shall be single-sided and shall not be
 15   blue-backed.     All documents must be stapled only in the left-
 16   hand corner, the electronic proof of service must be attached
 17   as the last page of each document, and the exhibits attached
 18   to any document must be tabbed.           Counsel shall not staple the
 19   “COURTESY COPY” and “CHAMBERS COPY” together.             The “COURTESY
 20   COPY” and “CHAMBERS COPY” of all documents must be three-hole
 21   punched at the left margin with the oversized 13/32" hole
 22   size, not the standard 9/32" hole size.            The Courtesy Copies
 23   shall be delivered to Chambers no later than 10:00 a.m. on
 24   the next business day after the document was electronically
 25   filed.
 26        For any document that is not required to be filed
 27   electronically, counsel are ORDERED to deliver 1 conformed
 28   copy of the document, which shall be marked “COURTESY COPY,”



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  1   to Chambers at the time of filing.           For any document or
  2   exhibit that is not required to be filed electronically,
  3   counsel shall retain a copy of that document or exhibit until
  4   all appeals have been exhausted.
  5        When a proposed order or other proposed document
  6   accompanies an electronic filing, the proposed order or other
  7   proposed document shall be in PDF format and included, as an
  8   attachment, with the main electronically filed document
  9   (e.g., stipulations, applications, motions).             Proposed orders
 10   or other proposed documents (such as a proposed judgment)
 11   that are not lodged with a main document shall be
 12   electronically lodged as an attachment to a Notice of
 13   Lodging; if the proposed document is being submitted in
 14   response to a court order, the filer shall link the Notice of
 15   Lodging to that court order.
 16        After a document requiring a judge’s signature has been
 17   lodged, a WordPerfect or Microsoft Word copy of the proposed
 18   document, along with a PDF copy of the electronically filed
 19   main document, MUST be emailed to the chambers email address,
 20   EITHER by using the “Proposed Orders” link within the CM/ECF
 21   System OR by sending a separate email with the subject line
 22   in the following format: Court’s divisional office, year,
 23   case type, case number, document control number assigned to
 24   the main document at the time of filing, judge’s initials,
 25   and filer (party) type and name (e.g., for Los Angeles:
 26   LA08CV00123-6-ABC-Defendant). Do not submit a proposed order
 27   twice.    Failure to comply with this requirement may result in
 28   the denial or striking of the request or the Court may



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  1   withhold ruling on the request until the Court receives the
  2   required documents.
  3   2.   DISCOVERY
  4        All discovery shall be completed by the discovery cut-off
  5   date specified on the last page of this Order.              THIS IS NOT
  6   THE DATE BY WHICH DISCOVERY REQUESTS MUST BE SERVED; IT IS
  7   THE DATE BY WHICH ALL DISCOVERY, INCLUDING EXPERT DISCOVERY,
  8   SHALL BE COMPLETED.       The Court does not enforce side
  9   agreements to conduct discovery beyond the discovery cut-off
 10   date.
 11        Any motion challenging the adequacy of responses to
 12   discovery must be heard sufficiently in advance of the
 13   discovery cut-off date to permit the responses to be obtained
 14   before that date if the motion is granted.
 15        In an effort to provide further guidance to the parties,
 16   the Court notes the following:
 17        (a)    Depositions
 18        All depositions shall be scheduled to commence
 19   sufficiently in advance of the discovery cut-off date to
 20   permit their completion and to permit the deposing party
 21   enough time to bring any discovery motions concerning the
 22   deposition prior to the cut-off date.
 23        (b)    Written Discovery
 24        All interrogatories, requests for production of
 25   documents, and requests for admissions shall be served
 26   sufficiently in advance of the discovery cut-off date to
 27   permit the discovering party enough time to challenge (via
 28   motion practice) responses deemed to be deficient.



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  1        (c)    Discovery Motions
  2        Whenever possible, the Court expects the parties to
  3   resolve discovery issues among themselves in a courteous,
  4   reasonable, and professional manner.           If they do so, resort
  5   to the Court for guidance in discovery is seldom necessary.
  6   The Magistrate Judge assigned to this case will rule on
  7   discovery motions and protective orders.
  8        (d)    Expert Discovery
  9        If expert witnesses are to be called at trial, the
 10   parties shall designate affirmative experts to be called at
 11   trial and shall provide reports required by Fed.R.Civ.P.
 12   26(a)(2)(B) not later than eight weeks prior to the discovery
 13   cut-off date.     Rebuttal expert witnesses shall be designated
 14   and reports provided as required by Fed.R.Civ.P. 26(a)(2)(B)
 15   not later than five weeks prior to the discovery cut-off
 16   date.   Any non-retained expert designated by a party as an
 17   affirmative or rebuttal expert shall also prepare and provide
 18   an expert report in the form described by Fed.R.Civ.P.
 19   26(a)(2)(B).     Expert witnesses will be bound by the opinions
 20   expressed in their reports prepared in accordance with
 21   Fed.R.Civ.P. 26(a)(2)(B) and will not be permitted to offer
 22   new opinions at trial.        Failure to timely comply with this
 23   deadline will result in the expert being excluded at trial as
 24   a witness.
 25   3.   MOTIONS - GENERAL PROVISIONS
 26        All law and motion matters, except for motions in limine,
 27   must be set for hearing (not filed) by the motion cut-off
 28   date specified on the last page of this Order.              The Court



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  1   will deny or strike late-filed motions.            The title page of
  2   all motions must state the hearing date and time for the
  3   motion, the Pre-Trial Conference date, and the Trial date.
  4        Once a party has noticed a motion for hearing on a
  5   particular date, the hearing shall not be continued without
  6   leave of Court. If the Court concludes that a motion can be
  7   resolved without argument, the Court will notify the parties
  8   in advance.
  9        If counsel does not intend to oppose a motion, counsel
 10   shall immediately inform the Courtroom Deputy by e-mail and
 11   immediately file a Notice of Non-Opposition in accordance
 12   with the Local Rules.       The parties should note that failure
 13   to timely respond to any motion shall be deemed by the Court
 14   as consent to the granting of the motion.            See Local Rules.
 15        Ex parte practice is strongly discouraged.             The Court
 16   will require strict adherence to proper ex parte procedures
 17   for any ex parte application filed with the Court.               See Local
 18   Rules and the Court’s Standing Order.
 19        (a) Applications and Stipulations to Extend Time
 20        No application or stipulation to extend the time to file
 21   any required document or to continue any date is effective
 22   unless and until the Court approves it.            Any application or
 23   stipulation to extend the time to file any required document
 24   or to continue any date must set forth the following:
 25              (i)    the existing due date or hearing date, as well
 26   as all dates set by the Court, including the discovery cut-
 27   off date, the Pre-Trial Conference date, and the Trial date;
 28              (ii)    the new dates proposed by the parties;



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  1              (iii) specific, concrete reasons supporting good
  2   cause for granting the extension; and
  3              (iv) whether there have been prior requests for
  4   extensions by any party, and whether those requests were
  5   granted or denied by the Court.
  6        The application or stipulation must be accompanied by a
  7   separate proposed order.        The proposed order shall include
  8   the existing due date(s) or hearing date(s) as well as the
  9   new proposed date(s).
 10        Failure to comply with the provisions of this section may
 11   result in the denial of the application or stipulation.
 12        (b) Joinder of Parties and Amendment of Pleadings
 13        The deadline for joining parties and amending pleadings
 14   is sixty days from the date of this Order.             Any motions to
 15   join other parties or for leave to amend the pleadings shall
 16   be filed within twenty days of the date of this Order so that
 17   they can be heard and decided prior to the deadline.
 18        In addition to the requirements of the Local Rules, all
 19   motions to amend the pleadings shall: (1) state the effect of
 20   the amendment; and (2) state the page, line number(s), and
 21   wording of any proposed change or addition of material.                The
 22   parties shall file and deliver to Chambers a redlined version
 23   of the proposed amended pleading indicating all additions
 24   and/or deletions of material.
 25        (c) Withdrawal or Substitution of Counsel
 26        The Court will not grant a request for approval of
 27   substitution of counsel after an action has been set for
 28   trial unless: (1) counsel files the request using the most



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  1   recent version of the appropriate forms provided on the
  2   Court’s website; and (2) the request is accompanied by a
  3   declaration signed by a substituting attorney indicating that
  4   such attorney has been advised of the trial date and will be
  5   prepared to proceed with trial as scheduled.             Any request for
  6   substitution of counsel which is not on the proper form or is
  7   not accompanied by a declaration signed by a substituting
  8   attorney as set forth above will be denied.
  9        Counsel who wish to withdraw and substitute their client
 10   pro se must file a regularly noticed motion to withdraw which
 11   demonstrates good cause for the request to withdraw.               The
 12   Court will not consider such a motion unless: (1) the motion
 13   is accompanied by a declaration signed by the client
 14   indicating that the client consents to the withdrawal, has
 15   been advised of the time and date of trial, and will be
 16   prepared to represent themselves pro se on the scheduled
 17   trial date; or (2) the Court is otherwise satisfied for good
 18   cause shown that the attorney should be permitted to
 19   withdraw.
 20   4.   SUMMARY JUDGMENT MOTIONS
 21        The Court will only entertain ONE summary judgment motion
 22   by a party.     In the event a party believes that more than one
 23   summary judgment motion is necessary to expedite the
 24   resolution of issues in the action, the party must obtain
 25   leave of court to file more than one summary judgment motion.
 26   The Court will require strict adherence to the following
 27   requirements:
 28   \\



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   1        (a) Statement Of Uncontroverted Facts and Conclusions of
   2              Law and Statement of Genuine Disputes of Material
   3              Fact
   4        The Statement of Uncontroverted Facts and Conclusions of
   5   Law is to be prepared in a two column format.             The left hand
   6   column should set forth the allegedly undisputed fact or
   7   conclusion or law.      The right hand column should set forth
   8   the evidence that supports the factual statement or
   9   conclusion of law.      The factual statements and conclusions of
 10    law should be set forth in sequentially numbered paragraphs.
 11    Each paragraph should contain a narrowly focused statement of
 12    fact or conclusion of law.        Each numbered paragraph should
 13    address a single subject in as concise a manner as possible.
 14         The opposing party’s Statement of Genuine Disputes of
 15    Material Fact must track the movant’s Statement of
 16    Uncontroverted Facts exactly as prepared.            The document must
 17    be in two columns; the left hand column must restate the
 18    allegedly undisputed fact, and the right hand column must
 19    restate the moving party’s evidence in support of the fact,
 20    and indicate either undisputed or disputed.            The opposing
 21    party may dispute all or only a portion of the statement, but
 22    if disputing only a portion, must clearly indicate what part
 23    is being disputed.      Where the opposing party is disputing the
 24    fact in whole or part, the opposing party must, in the right
 25    hand column, set forth the evidence controverting the fact.
 26    Where the opposing party is disputing the fact on the basis
 27    of an evidentiary objection, the party must cite to the
 28    evidence alleged to be objectionable and state the ground of



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   1   the objection and nothing more.           Counsel are reminded that
   2   unwarranted factual denials made in the context of a Summary
   3   Judgment Motion are subject to Rule 11 sanctions.              No
   4   argument should be set forth in this document.
   5        The opposing party may submit additional material facts
   6   that bear on or relate to the issues raised by the movant,
   7   which shall follow the format described above for the moving
   8   party’s Statement of Uncontroverted Facts.            These additional
   9   facts shall follow the movant’s facts, shall continue in
 10    sequentially numbered paragraphs (i.e., if movant’s last
 11    statement of fact was set forth in paragraph 30, then the
 12    first new fact will be set forth in paragraph 31), and the
 13    evidence that supports the new fact shall be set forth in the
 14    right hand column.
 15         The moving party, together with its reply, shall file a
 16    separate document entitled “Combined Statement of Facts” that
 17    (1) restates the entirety of the opposing party’s Statement
 18    of Genuine Disputes of Material Fact and (2) responds to any
 19    additional facts in the same manner and format that the
 20    opposing party must follow in responding to the Statement of
 21    Uncontroverted Facts, as described above.
 22         (b) Supporting Evidence
 23         No party should submit any evidence other than the
 24    specific items of evidence or testimony necessary to support
 25    or controvert a proposed statement of undisputed fact.               Thus,
 26    for example, entire sets of interrogatory responses, or
 27    documents that do not specifically support or controvert
 28    material in the Statements should not be submitted in support



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   1   of or in opposition to a motion for summary judgment.               Any
   2   such material will not be considered.
   3        Evidence submitted in support of or in opposition to a
   4   motion for summary judgment should be submitted either by way
   5   of stipulation or as exhibits to declarations sufficient to
   6   authenticate the proffered evidence, and should not be
   7   attached to the memorandum of points and authorities.               The
   8   Court will accept counsel’s authentication of deposition
   9   transcripts, written discovery responses, and the receipt of
 10    documents in discovery if the fact that the document was in
 11    the opponent’s possession is of independent significance.
 12    Documentary evidence as to which there is no stipulation
 13    regarding foundation must be accompanied by the testimony,
 14    either by declaration or properly authenticated deposition
 15    transcript, of a witness who can establish its authenticity.
 16         All exhibits submitted in support of, and in opposition
 17    to, a motion for summary judgment shall be consecutively
 18    numbered; no two exhibits shall bear the same number.               For
 19    example, if the moving party submits one declaration and one
 20    request for judicial notice, with four exhibits attached to
 21    each document, the exhibits attached to the declaration shall
 22    be marked 1 through 4, and the exhibits attached to the
 23    request for judicial notice shall be marked 5 through 8.                  The
 24    opposing party’s exhibits shall then commence with number 9.
 25    Immediately above or below the page number on each page of an
 26    exhibit, the parties shall mark “[Party Name]’s Summary
 27    Judgment Exhibit No. __”.
 28         All exhibits shall be separately filed on CM/ECF, and



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   1   each exhibit on the docket shall include a meaningful
   2   description such that the exhibit can be easily identified.
   3   For example, if a declaration in support of a motion for
   4   summary judgment appears as Docket No. 30, exhibit 1 to the
   5   declaration should be filed as Docket No. 30-1 with a
   6   description of the exhibit that includes the title of the
   7   exhibit and the exhibit number (e.g., Exhibit 1: Letter from
   8   John Doe to Jane Doe dated January 1, 2021).             Exhibit 2 to
   9   the declaration should be filed as Docket No. 30-2 with a
 10    description of the exhibit which includes the title of the
 11    exhibit and exhibit number (Exhibit 2: Letter from Jane Doe
 12    to John Doe dated January 2, 2021), and so on.
 13         In addition to the foregoing, any party who offers
 14    deposition testimony in support of or in opposition to a
 15    motion for summary judgment shall prepare and file a separate
 16    document for each deponent which contains only those
 17    questions and answers, and any objections made at the time of
 18    the deposition to those questions, that a party is relying on
 19    to support their motion, with a citation to the appropriate
 20    page and line number(s) in the deposition transcript.
 21         The parties shall also deliver to chambers (but not file)
 22    one copy of the entire deposition transcript (single-sided
 23    condensed transcript including the word index) of each
 24    deposition referenced.       The deposition transcripts shall be
 25    placed in a slant D-ring binder with each transcript
 26    separated by a tab divider on the right side and three-hole
 27    punched at the left margin with the oversized 13/32" hole
 28    size, not the standard 9/32" hole size.           The deposition



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   1   transcript binder shall include a Table of Contents and the
   2   spine of each binder shall be labeled with its contents.
   3        The Court’s Courtesy Copies of all evidence in support of
   4   or in opposition to a motion for summary judgment shall be
   5   submitted in a separately bound compendium and shall include
   6   a Table of Contents.       If the supporting evidence exceeds
   7   twenty-five pages, each Courtesy Copy of the supporting
   8   evidence shall be placed in a slant D-ring binder with each
   9   item of evidence separated by a tab divider on the right
 10     side.   All documents contained in the binder must be three-
 11    hole punched with the oversized 13/32" hole size, not the
 12    standard 9/32" hole size. The spine of each binder shall be
 13    labeled with its contents.
 14         In addition to the foregoing, the parties shall meet and
 15    confer and prepare two binders, one binder containing a joint
 16    set of all exhibits relied on by the parties in support of
 17    and in opposition to the motion for summary judgment (“Joint
 18    Exhibit Binder”), and the other binder containing a joint set
 19    of all declarations relied on by the parties in support of
 20    and in opposition to the motion for summary judgment (“Joint
 21    Declarations Binder”).       The parties shall file the Joint Set
 22    of Exhibits with a cover page titled “Joint Set of Exhibits”
 23    and the Joint Set of Declarations with a cover page titled
 24    “Joint Set of Declarations” with the Reply.            The parties
 25    shall also deliver to Chambers two copies of both the Joint
 26    Exhibit Binder and Joint Declarations Binder in accordance
 27    with paragraph 1 of this Order, one set of which shall be
 28    marked “CHAMBERS COPY,” and the other set of which shall be



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   1   marked “COURTESY COPY.”
   2        The Joint Exhibit Binder and Joint Declarations Binder
   3   shall include a Table of Contents, and the spine of each
   4   binder shall be labeled with its contents.            The Table of
   5   Contents for the Joint Exhibit Binder and Joint Declarations
   6   Binder shall specifically describe each summary judgment
   7   exhibit or declaration and include a citation to each
   8   paragraph number in the Combined Statement of Facts that
   9   refers to the exhibit or declaration (e.g. Plaintiff’s
 10    Summary Judgment Exhibit No. 1 - Letter from John Doe to Jane
 11    Doe dated January 1, 2007 Re: Reasons for Jane Doe’s
 12    termination) (Combined Statement of Facts Nos. 2, 8, 10).                In
 13    preparing the Table of Contents, counsel should not create a
 14    new set of exhibit numbers.        Counsel shall use the same
 15    exhibit numbers that were used to identify the documents in
 16    the Motion for Summary Judgment.
 17         When filing the Joint Set of Exhibits and Joint Set of
 18    Declarations electronically, each exhibit or declaration
 19    shall be separately filed on CM/ECF and the description of
 20    the exhibit or declaration on the docket shall track the
 21    description of the exhibit or declaration in the Table of
 22    Contents.
 23         (c) Objections to Evidence
 24         If a party disputes a fact based in whole or in part on
 25    an evidentiary objection, the ground for the objection, as
 26    indicated above, should be stated in the Statement of Genuine
 27    Disputes of Material Fact or Combined Statement of Facts but
 28    not argued in that document.         Evidentiary objections are to



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   1   be addressed in a separate memorandum to be filed with the
   2   opposition or reply brief of the party.           This memorandum
   3   should be organized to track the paragraph numbers of the
   4   Statement of Genuine Disputes of Material Fact or Combined
   5   Statement of Facts in sequence.           It should identify the
   6   specific item of evidence to which objection is made, or in
   7   the case of deposition testimony it should quote the relevant
   8   testimony, the ground for the objection, and a very brief
   9   argument with citation to authority as to why the objection
 10    is well taken.     The following is an example of the format
 11    required by the Court:
 12         Combined Statement of Facts Paragraph 10: Objection to
 13         the supporting deposition testimony of Jane Smith [quote
 14         testimony] at 60:1-10 on the grounds that the statement
 15         constitutes inadmissible hearsay and no exception is
 16         applicable.     To the extent it is offered to prove
 17         her state of mind, it is irrelevant because her
 18         state of mind is not in issue.          Fed. R. Evid. 801,
 19         802.
 20    DO NOT SUBMIT BLANKET OR BOILERPLATE OBJECTIONS TO THE
 21    OPPONENT’S STATEMENT OF FACTS. THESE WILL BE DISREGARDED AND
 22    OVERRULED.
 23         (d) The Memorandum of Points and Authorities
 24         The movant’s memorandum of points and authorities should
 25    be in the usual form required under Local Rules and should
 26    contain a narrative statement of facts as to those aspects of
 27    the case that are before the Court.          All facts should be
 28    supported with citations to the paragraph number in the



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   1   Statement of Uncontroverted Facts that supports the factual
   2   assertion and not to the underlying evidence.
   3        Unless the case involves some unusual twist, the motion
   4   need only contain a brief statement of the Fed.R.Civ.P. 56
   5   standard; the Court is familiar with the Rule and with its
   6   interpretation under Celotex and its progeny.             If at all
   7   possible, the argument should be organized to focus on the
   8   pertinent elements of the claim(s) for relief or defense(s)
   9   in issue, with the purpose of showing the existence or non-
 10    existence of a genuine issue of material fact for trial on
 11    that element of the claim or defense.
 12         Likewise, the opposition memorandum of points and
 13    authorities should be in the usual form required by the Local
 14    Rules.    Where the opposition memorandum sets forth facts,
 15    those facts should be supported with citations to the
 16    paragraph number in the Statement of Genuine Disputes of
 17    Material Fact and not to the underlying evidence.
 18         (e) Proposed Statement of Decision
 19         No more than two days after the deadline for filing the
 20    Reply, each party shall lodge a Proposed Statement of
 21    Decision, which shall contain a statement of the relevant
 22    facts and applicable law with citations to case law and the
 23    record.    The Proposed Statement of Decision shall not exceed
 24    twenty pages and shall be in a form that would be appropriate
 25    for the Court to enter as its final order on the motion.                The
 26    Proposed Statement of Decision shall be submitted to the
 27    Court in accordance with the Local Rules and shall be
 28    e-mailed in WordPerfect or Word format to the Chambers’



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   1   e-mail address (JFW_Chambers@cacd.uscourts.gov) at the time
   2   of filing.     Failure to lodge the Proposed Statement of
   3   Dcision will result in the denial or granting of the motion.
   4        (f) Timing
   5        Parties should not wait until the motion cut-off date to
   6   bring motions for summary judgment or partial summary
   7   judgment.     Early completion of non-expert discovery and
   8   filing of motions for summary judgment may eliminate or
   9   reduce the need for expensive expert depositions which are
 10    normally conducted in the last stages of discovery.
 11         Caveat:    Failure of the moving party to comply with these
 12    procedures regarding summary judgment motions will result in
 13    the denial of the Motion for Summary Judgment.             If a party
 14    fails to respond to a Motion for Summary Judgment, the Court
 15    will assume that the material facts as claimed and adequately
 16    supported by the moving party are admitted to exist without
 17    controversy, which will likely result in the granting of the
 18    Motion for Summary Judgment.
 19    5.   MOTIONS IN LIMINE
 20         The Court will only entertain a maximum of five motions
 21    in limine by a party.       In the event a party believes that
 22    more than five motions in limine are necessary, the party
 23    must obtain leave of Court to file more than five motions in
 24    limine.     The Court will not hear or resolve motions in limine
 25    that are disguised summary judgment motions.             No application
 26    to file under seal will be granted with respect to a motion
 27    in limine or any documents submitted with the motion in
 28    limine.



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   1        Before filing any motion in limine, lead counsel for the
   2   parties shall confer in a good faith effort to eliminate the
   3   necessity for hearing the motion in limine or to eliminate as
   4   many of the disputes as possible.          It shall be the
   5   responsibility of counsel for the moving party to arrange for
   6   this conference.      The conference shall take place in person
   7   within ten calendar days of service upon opposing counsel of
   8   a letter requesting such conference, but in no event later
   9   than twenty-one days before the Pre-Trial Conference.               Unless
 10    counsel agree otherwise, the conference shall take place at
 11    the office of the counsel for the moving party.             If lead
 12    counsel are not located in the same county in the Central
 13    District, the conference may take place via video (letters
 14    and e-mail, for example, do not constitute a proper
 15    conference).
 16         The moving party’s letter shall identify the testimony,
 17    exhibits, or other specific matters alleged to be
 18    inadmissible and/or prejudicial, shall state briefly with
 19    respect to each such matter the moving party’s position (and
 20    provide any legal authority which the moving party believes
 21    is dispositive), and shall specify the terms of the order to
 22    be sought.
 23         If counsel are unable to resolve their differences, they
 24    shall prepare and file a separate, sequentially numbered
 25    Joint Motion in Limine for each issue in dispute which
 26    contains a clear caption which identifies the moving party
 27    and the nature of the dispute (e.g., “Plaintiff’s Motion in
 28    Limine #1 to exclude the testimony of Defendant’s expert”).



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   1   Each Joint Motion in Limine shall consist of one document
   2   signed by all counsel.       The Joint Motion in Limine shall
   3   contain a clear identification of the testimony, exhibits, or
   4   other specific matters alleged to be inadmissible and/or
   5   prejudicial and a statement of the specific prejudice that
   6   will be suffered by the moving party if the motion is not
   7   granted.    The identification of the matters in dispute shall
   8   be followed by each party’s contentions and each party’s
   9   memorandum of points and authorities.           The title page of the
 10    Joint Motion in Limine must state the Pre-Trial Conference
 11    date, hearing date for the motions in limine, and Trial date.
 12         Joint Motions in Limine made for the purpose of
 13    precluding the mention or display of inadmissible and/or
 14    prejudicial matter in the presence of the jury shall be
 15    accompanied by a declaration that includes the following:
 16    (1) a clear identification of the specific matter alleged to
 17    be inadmissible and/or prejudicial; (2) a representation to
 18    the Court that the subject of the motion in limine has been
 19    discussed with opposing counsel, and that opposing counsel
 20    has either indicated that such matter will be mentioned or
 21    displayed in the presence of the jury before it is admitted
 22    in evidence or that counsel has refused to stipulate that
 23    such matter will not be mentioned or displayed in the
 24    presence of the jury unless and until it is admitted in
 25    evidence; and (3) a statement of the specific prejudice that
 26    will be suffered by the moving party if the motion in limine
 27    is not granted.
 28    \\



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   1        Unless ordered by the Court, no supplemental or separate
   2   memorandum of points and authorities shall be filed by either
   3   party in connection with any motion in limine.
   4        The Court’s Courtesy Copies of all evidence in support of
   5   or in opposition to a motion in limine, including
   6   declarations and exhibits to declarations, shall be submitted
   7   in a separately bound volume and shall include a Table of
   8   Contents.    If the supporting evidence exceeds twenty-five
   9   pages, each Courtesy Copy of the supporting evidence shall be
 10    placed in a slant D-ring binder with each item of evidence
 11    separated by a tab divider on the right side, and the spine
 12    of the binder shall be labeled with its contents.              All
 13    documents contained in the binder must be three-hole punched
 14    with the oversized 13/32" hole size, not the standard 9/32"
 15    hole size.
 16         The Court will not consider any motion in limine in the
 17    absence of a joint motion or a declaration from counsel for
 18    the moving party establishing that opposing counsel: (a)
 19    failed to confer in a timely manner; (b) failed to provide
 20    the opposing party’s portion of the joint motion in a timely
 21    manner; or (c) refused to sign and return the joint motion
 22    after the opposing party’s portion was added.
 23         Unless otherwise ordered by the Court, motions in limine
 24    should be filed and will be heard on the dates specified on
 25    the last page of this Order.         Unless the Court in its
 26    discretion otherwise allows, no motions in limine shall be
 27    filed or heard on an ex parte basis, absent a showing of
 28    irreparable injury or prejudice not attributable to the lack



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   1   of diligence of the moving party.
   2        The failure of any counsel to comply with or cooperate in
   3   the foregoing procedures will result in the imposition of
   4   sanctions, including a resolution of the issue against the
   5   party refusing to cooperate.
   6   6.   PRE-TRIAL CONFERENCE AND LOCAL RULE 16 FILINGS
   7        (a) General Provisions
   8        The Pre-Trial Conference (“PTC”) will be held on the date
   9   specified on the last page of this Order, unless the Court
 10    expressly waived a PTC.       If adjustments in the Court’s
 11    calendar to accommodate congestion become necessary, the
 12    Court may re-schedule the PTC instead of the trial date.
 13    Therefore, the parties should assume that if the PTC goes
 14    forward, the trial will go forward without continuance,
 15    although some brief period of trailing may prove necessary.
 16         The lead trial attorney on behalf of each party shall
 17    attend both the PTC and all meetings of the parties in
 18    preparation for the PTC, unless excused for good cause shown
 19    in advance of the PTC.
 20         A continuance of the PTC at the parties’ request or by
 21    stipulation is highly unlikely.           Specifically, failure to
 22    complete discovery is not a ground for continuance.                In the
 23    unlikely event that the Court agrees to continue the PTC, the
 24    trial date is likely to be delayed as a result.             If a change
 25    in the trial date is necessitated or likely because of the
 26    Court’s calendar or otherwise, modifications of that date
 27    will be discussed at the PTC.
 28         At the PTC, the parties should be prepared to discuss



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   1   means of streamlining the trial, including, but not limited
   2   to:   bifurcation; presentation of foundational and non-
   3   critical testimony and direct testimony by deposition
   4   excerpts; narrative summaries and/or stipulations as to the
   5   content of testimony; presentation of testimony on direct
   6   examination by affidavit or by declaration subject to cross-
   7   examination; and qualification of experts by admitted
   8   resumes.     The Court will also discuss settlement.
   9         (b)   Form of Pre-Trial Conference Order (“PTCO”)
 10          The proposed PTCO shall be filed by the date specified on
 11    the last page of this Order.         Adherence to this time
 12    requirement is necessary for in-chambers preparation of the
 13    matter.     The PTCO shall include the date of the L.R. 16-2
 14    conference and the names of each attorney in attendance at
 15    the L.R. 16-2 conference.        The form of the proposed PTCO
 16    shall comply with Appendix A to the Local Rules and the
 17    following:
 18                (i) Place in “ALL CAPS” and in bold the separately
 19    numbered headings for each category in the PTCO (e.g., “1.
 20    THE PARTIES” or “7.      CLAIMS AND DEFENSES OF THE PARTIES”).
 21                (ii) Include a Table of Contents at the beginning.
 22                (iii) In specifying the surviving pleadings, state
 23    which claims or counterclaims have been dismissed or
 24    abandoned (e.g.,“Plaintiff’s second cause of action for
 25    breach of fiduciary duty has been dismissed.”). Also, in
 26    multiple party cases where not all claims or counterclaims
 27    will be prosecuted against all remaining parties on the other
 28    side, specify to which party each claim or counterclaim

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   1   is directed.
   2              (iv) In drafting the PTCO, the Court expects that
   3   the parties will attempt to agree on and set forth as many
   4   uncontested facts as possible.            A carefully drafted and
   5   comprehensively stated stipulation of facts will assist the
   6   Court in preparing for the Pre-Trial Conference.
   7              (v) In specifying the parties’ claims and defenses
   8   in Section 7 of the PTCO, each party shall closely follow the
   9   examples set forth in Appendix A of the Local Rules.
 10               (vi) The Court may submit fact issues to the jury in
 11    the form of findings on a special verdict form.             The issues
 12    of fact should track the elements of a claim or defense on
 13    which the jury will be required to make findings.
 14               (vii) If expert witnesses are to be called at trial,
 15    each party must list and identify its respective expert
 16    witnesses, both retained and non-retained.            Failure of a
 17    party to list and identify an expert witness in the PTCO
 18    shall preclude the party from calling that expert witness at
 19    trial.
 20         (c) Rule 16 Filings; Memoranda; Witness Lists; Exhibit
 21               Lists
 22         The parties must comply fully with the requirements of
 23    Local Rule 16.     They shall file carefully prepared Memoranda
 24    of Contentions of Fact and Law (which may also serve as the
 25    trial brief), along with their respective Witness Lists and
 26    Exhibit Lists, all in accordance with the Local Rules.               See
 27    the last page of this Order for applicable dates.
 28    \\

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   1        (d) Summary of Witness Testimony and Time Estimates
   2        Counsel shall prepare a list of their witnesses,
   3   including a brief summary (two to three paragraphs) of each
   4   witness’s expected testimony, an estimate of the length of
   5   time needed for direct examination, and whether the witness
   6   will testify by deposition or in person.            Counsel shall
   7   exchange these lists with opposing counsel.            Counsel shall
   8   jointly file a single list of witness testimony summaries,
   9   including estimates for direct examination of their own
 10    witnesses and estimates for cross-examination of opposing
 11    witnesses.     The joint witness testimony summaries shall be
 12    filed at the same time counsel submit the PTCO.             If a party
 13    intends to offer deposition testimony into evidence at trial,
 14    the party shall comply with the Local Rules.
 15         (e) Pre-Trial Exhibit Stipulation
 16         The parties shall prepare a Pre-Trial Exhibit Stipulation
 17    which shall contain each party’s numbered list of all trial
 18    exhibits, with objections, if any, to each exhibit including
 19    the basis of the objection and the offering party’s response.
 20    All exhibits to which there is no objection shall be deemed
 21    admitted.    The parties shall also identify each witness they
 22    anticipate will testify about and/or lay the foundation for
 23    the exhibit.     All parties shall stipulate to the authenticity
 24    of exhibits whenever possible, and the Pre-Trial Exhibit
 25    Stipulation shall identify any exhibits for which
 26    authenticity has not been stipulated to and the specific
 27    reasons for the party’s failure to stipulate.
 28    \\

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   1            The Pre-Trial Exhibit Stipulation shall be substantially
   2   in the following form:
   3                            Pre-Trial Exhibit Stipulation
   4   Plaintiff(s)’ Exhibits
   5   Number    Description   Witness   If Objection, State Grounds   Response to Objection

   6   Defendant(s)’ Exhibits
   7   Number    Description   Witness   If Objection, State Grounds   Response to Objection

   8            The Pre-Trial Exhibit Stipulation shall be filed at the
   9   same time counsel file the PTCO.                Failure to comply with this
 10    paragraph shall constitute a waiver of all objections.
 11    DO NOT SUBMIT BLANKET OR BOILERPLATE OBJECTIONS TO THE
 12    OPPOSING PARTY’S EXHIBITS. THESE WILL BE DISREGARDED AND
 13    OVERRULED.
 14             (f) Jury Instructions, Verdict Forms, Special
 15                  Interrogatories
 16             Fourteen days before the required Local Rule 16-2
 17    meeting, the parties shall exchange proposed jury
 18    instructions, verdict forms, and, if necessary, special
 19    interrogatories.          Seven days before the meeting, counsel
 20    shall exchange written objections, if any, to the proposed
 21    jury instructions, verdict forms, and special
 22    interrogatories.          At the required        meeting, lead counsel
 23    shall confer with the objective of submitting one set of
 24    agreed upon instructions, a verdict form, and, if necessary,
 25    special interrogatories.
 26             If lead counsel agree upon one complete set of jury
 27    instructions, they shall file a joint set of proposed jury
 28    instructions, arranged in a logical sequence with each

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   1   instruction sequentially numbered, and identified as
   2   “Stipulated Instruction No. __ Re ______,” with the blanks
   3   filled in as appropriate.        If the parties cannot agree upon
   4   one complete set of jury instructions, they shall file the
   5   following two joint documents with the Court:
   6              (i)    A joint set of proposed jury instructions
   7   arranged in a logical sequence with each instruction
   8   sequentially numbered.       If undisputed, an instruction shall
   9   be identified as “Stipulated Instruction No. __ Re ________,”
 10    with the blanks filled in as appropriate.            If disputed, each
 11    alternate version of the disputed instruction shall be
 12    inserted together (back to back) in their logical place in
 13    the overall sequence.       Each such disputed instruction shall
 14    be identified as “Disputed Instruction No. __ Re ________
 15    Proposed By      ________,” with the blanks filled in as
 16    appropriate.      All disputed versions of an instruction shall
 17    bear the same instruction number.          If a party does not have a
 18    counter-version of an instruction and simply contends no such
 19    instruction should be given, then that party should so state
 20    (and explain why) on a separate page inserted in lieu of an
 21    alternate version; and
 22               (ii)    A joint memorandum of law in support of each
 23    party’s disputed instructions, organized by instruction
 24    number.   The joint memorandum of law shall quote the text of
 25    each disputed instruction and shall set forth each party’s
 26    respective position and legal authority, immediately after
 27    the text of each disputed instruction.
 28    \\

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   1        Each proposed instruction, whether agreed upon or
   2   disputed, shall (a) be set forth in full on a separate page;
   3   (b) embrace only one subject or principle of law; (c) cite to
   4   the legal authority for or source of the instruction; and (d)
   5   reference the claim for relief to which the instruction
   6   relates with a citation to Section 7 of the PTCO.
   7         A Table of Contents shall be included with all jury
   8   instructions submitted to the Court.           The Table of Contents
   9   shall set forth the following:
 10               (i)     The number of the instruction;
 11               (ii)    A brief title of the instruction;
 12               (iii) Whether it is undisputed or disputed;
 13               (iv)    The source of the instruction; and
 14               (v)     The page number of the instruction.
 15    For example:
 16    Number     Title                  Source                 Page No.
 17    1          Burden of Proof        9th Cir. Man.             5
                  (Undisputed)           of Model Jury
 18                                      Instr. 5.1
 19         The Court directs counsel to use the instructions from
 20    the Ninth Circuit Manual of Model Jury Instructions (West
 21    Publishing, most recent edition) where applicable.              Where
 22    California law is to be applied and the above instructions
 23    are not applicable, the Court prefers counsel to use the
 24    Judicial Council of California Civil Jury Instructions
 25    (“CACI”) (LexisNexis Matthew Bender, most recent edition).
 26    If neither of these sources is applicable, counsel are
 27    directed to use the instructions from O’Malley, Grenig and
 28    Lee, Federal Jury Practice and Instructions (West Group, most

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   1   recent edition).      Any modifications made to the original form
   2   instruction from the foregoing sources (or any other form
   3   instructions) must be specifically identified, along with the
   4   authority supporting the modification.           Counsel shall not
   5   submit proposed preliminary instructions to be given to the
   6   jury prior to opening statements.
   7        If the parties agree upon a verdict form and/or special
   8   interrogatories, they shall file a joint verdict form and/or
   9   special interrogatories, with the questions arranged in a
 10    logical sequence.      If the parties cannot agree upon a verdict
 11    form and/or special interrogatories, they shall file a joint
 12    document containing each party’s alternative version along
 13    with a brief explanation of each party’s respective position.
 14         The joint set of proposed jury instructions, the joint
 15    memorandum of law, and verdict form(s) and/or special
 16    interrogatories are to be filed with the PTCO and other Local
 17    Rule 16 documents.      Courtesy Copies shall be provided to the
 18    Court in accordance with Section 1 of this Order.              In
 19    addition, the parties shall e-mail the joint set of proposed
 20    jury instructions, joint memorandum of law, and verdict
 21    form(s) and/or special interrogatories in WordPerfect or Word
 22    format to the Chambers’ e-mail address
 23    (JFW_Chambers@cacd.uscourts.gov) at the time of filing.
 24         Immediately after the Court’s final ruling on the
 25    disputed jury instructions, counsel shall file one final
 26    “clean set” of jury instructions, which shall be sent into
 27    the jury room for the jury’s use during deliberations.               The
 28    “clean set” shall contain only the text of each instruction

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   1   set forth in full on each page, with the caption “Court’s
   2   Instruction No. ___” (eliminating supporting authority,
   3   citations to the PTCO, etc.).         Counsel shall also e-mail the
   4   final “clean set” of jury instructions in WordPerfect or Word
   5   format to the Chambers’ e-mail address
   6   (JFW_Chambers@cacd.uscourts.gov) at the time of filing.
   7        Caveat:      The failure of any counsel to comply with or
   8   cooperate in all of the foregoing procedures regarding jury
   9   instructions and/or verdict forms will constitute a waiver of
 10    all objections to the jury instructions and/or verdict form
 11    used by the Court or will constitute a waiver of jury trial
 12    and/or the striking of the jury demand.
 13         (g) Real-Time Reporting Requirement
 14         Each party must file with the Court, at the same time
 15    counsel submit the PTCO, a document for the Court Reporter
 16    which contains proper names, unusual or scientific terms, or
 17    any foreign or uncommon words that are likely to be used by
 18    the parties during the PTC and the Trial.            Each party shall
 19    also e-mail a copy of the document to the Chambers’ e-mail
 20    address (JFW_Chambers@cacd.uscourts.gov) at the time of
 21    filing.
 22         (h) Joint Statement of the Case and Requests for Voir
 23               Dire
 24         Three days prior to the Pre-Trial Conference, the parties
 25    shall file their proposed voir dire questions and their joint
 26    statement of the case which the Court shall read to all
 27    prospective jurors prior to the commencement of voir dire. The
 28    statement should be not longer than two or three paragraphs.

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   1        The Court conducts voir dire of all prospective jurors.
   2   The parties need not submit requests for standard voir dire
   3   questions, such as education, current occupation, marital
   4   status, prior jury service, etc., but should include only
   5   proposed questions specifically tailored to the parties and
   6   issues of the case.
   7   7.   COURT TRIALS
   8        (a) Declarations of Witness Direct Testimony
   9        Counsel in non-jury trials shall submit the direct
 10    testimony of their witnesses in writing in a declaration
 11    executed under penalty of perjury.          These declarations shall
 12    be in admissible form with an appropriate foundation
 13    established for the declarant’s statements.            Paragraphs in
 14    each declaration shall be numbered consecutively to facilitate
 15    the identification of paragraphs for evidentiary objections.
 16    Any exhibits which are attached to a witness
 17    declaration shall be numbered consistently with the number of
 18    the exhibit on the Pre-Trial Exhibit Stipulation.
 19         Counsel are to exchange and file these declarations at
 20    least fourteen calendar days before trial, unless otherwise
 21    ordered by the Court.       Courtesy Copies shall be provided to
 22    the Court in accordance with Section 1 of this Order.
 23    Courtesy Copies shall be submitted to the Court in a slant D-
 24    ring binder with each declaration separated by a tab divider
 25    on the right side.      All documents must be three-hole punched
 26    with the oversized 13/32" hole size, not the standard 9/32"
 27    hole size.    The binders shall also contain a Table of Contents
 28

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   1   listing the declarations contained therein, and the spine of
   2   the binder shall be labeled with its contents.
   3        Eight calendar days before trial, counsel may file
   4   evidentiary objections to those declarations.             Counsel shall
   5   prepare a separate document for each declaration for which
   6   they have an evidentiary objection in which they shall quote
   7   the specific language from the declaration to which they
   8   object, followed by the objection and any relevant argument.
   9   Counsel shall file any reply or response to the objections by
 10    noon on the fifth calendar day before trial.             Courtesy Copies
 11    shall be provided to the Court in accordance with Section 1 of
 12    this Order.     DO NOT SUBMIT BLANKET OR BOILERPLATE OBJECTIONS
 13    TO THE OPPOSING PARTY’S WITNESS DECLARATIONS. THESE WILL BE
 14    DISREGARDED AND OVERRULED.
 15         At trial, the Court will rule on the evidentiary
 16    objections and, depending upon the ruling, the declarations
 17    will be received in evidence, either in whole or in part, or
 18    rejected.     Counsel will then conduct the cross-examination and
 19    re-direct examination at trial.
 20         Failure to comply with the terms of this Order will
 21    result in sanctions or the Court may refuse to allow that
 22    witness to testify.
 23         (b) Trial Briefs
 24         Counsel for each party shall file and serve a trial
 25    brief, not to exceed 15 pages in length, fourteen calendar
 26    days before trial.
 27         (c) Findings of Fact and Conclusions of Law
 28    Counsel for each party shall file and serve initial proposed

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   1   findings of fact and conclusions of law fourteen calendar days
   2   before trial.      Counsel for each party shall also e-mail a copy
   3   of their proposed findings of fact and conclusions of law to
   4   the Chambers’ e-mail address
   5   (JFW_Chambers@cacd.uscourts.gov) on the date due.              Counsel for
   6   each party shall then:
   7              (i)     Underline in red the portions which it
   8                      disputes;
   9              (ii)    Underline in blue the portions which it
 10                       admits; and
 11               (iii)   Underline in yellow the portions which it does
 12                       not dispute, but deems irrelevant.
 13         Counsel may agree with a part of a finding or conclusion,
 14    disagree with a part of it, and/or consider a part of it
 15    irrelevant.
 16         The marked copy of opposing counsel’s proposed findings
 17    of fact and conclusions of law shall be filed with the Court
 18    and served on opposing counsel seven calendar days before
 19    trial.   Courtesy Copies shall be provided to the Court in
 20    accordance with Section 1 of this Order.
 21    8.   SETTLEMENT
 22         This Court will not conduct settlement conferences in
 23    non-jury cases which the Court will try unless counsel for all
 24    parties and their respective clients agree either in
 25    writing or on the record.        In jury cases, the Court will
 26    conduct a settlement conference at the parties’ joint request
 27    if three conditions exist:
 28

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   1        (a)   The parties are satisfied that the fact issues in
   2   the case will be tried to a jury;
   3        (b)   All significant pre-trial rulings which the Court
   4   must make have been made; and
   5        (c)   The parties desire the Court to conduct the
   6   conference, understanding that if settlement fails, the Court
   7   will preside over trial of the case.
   8        The parties must file a Status Report re: Settlement at
   9   the time they lodge the Proposed Pre-Trial Conference Order.
 10    The Status Report shall include the name and phone number of
 11    the Settlement Officer who assisted the parties with their
 12    settlement conference.
 13         Caveat:    If counsel fail to cooperate in the preparation
 14    of the required Pre-Trial documents, fail to file the required
 15    Pre-Trial documents, or fail to appear at the Pre-Trial
 16    Conference and such failure is not otherwise satisfactorily
 17    explained to the Court: (a) the cause shall stand dismissed
 18    for failure to prosecute if such failure occurs on the part of
 19    the plaintiff; (b) default judgment shall be entered if such
 20    failure occurs on the part of the
 21    defendant; or (c) the Court may take such action as it deems
 22    appropriate.
 23
 24         IT IS SO ORDERED.
 25
       DATED:     March 6, 2023
 26
                                                  JOHN F. WALTER
 27                                       UNITED STATES DISTRICT JUDGE
 28

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   1                               JUDGE JOHN F. WALTER
                            SCHEDULE OF TRIAL AND PRE-TRIAL DATES
   2
   3    Matter                              Time      Weeks Plaintiff(s)     Defendant(s)      Court
                                                      before (Request)       (Request)         Order
   4                                                  trial
        Trial (court)                       8:30 am                                               11/7/23
   5    Estimated length: 2 days

   6    [Jury trial] Hearing on Motions     8:00 am                                                   X
        in Limine; Hearing on Disputed
   7    Jury Instructions

   8    [Court trial] Hearing on Motions    8:00 am                                                   X
        in Limine
   9    Pre-Trial Conference (File          8:00 am                                              10/27/23
        Proposed Voir Dire Qs and
 10     Agreed-to Statement of Case
        three days prior to PTC)
 11
        Submit Pre-Trial Conf. Order;                                                            10/16/23
 12     File Motions in Limine; Memo of
        Contentions of Fact and Law;
 13     Pre-Trial Exhibit Stipulation;
        Summary of Witness Testimony
 14     and Time Estimates; File Status
        Report re: Settlement; File
 15     Agreed Upon Set of Jury
        Instructions and Verdict Forms;
 16     File Joint Statement re Disputed
        Instructions, Verdicts, etc.
 17
        Last day for hearing motions *      1:30 pm                                               8/28/23
 18
        Discovery cut-off                                                                          N/A
 19
       ADDITIONAL MATTERS TO BE DETERMINED AT SCHEDULING
 20    CONFERENCE
 21     Last day to conduct Settlement                                                            7/10/23
        Conference/Mediation
 22
        Last day to file Joint Report re:                                                         7/14/23
 23     results of Settlement
        Conference/Mediation
 24
 25    * Motions for class certification shall be filed within 120 days after service of a pleading
 26    purporting to commence a class action (or, if applicable, within 120 days after service of the Notice
       of Removal), unless otherwise ordered by the Court.
 27
 28    Rev. 2-9-2021


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